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AO91 (Rev. 12/03) Criminal Complaint                                                          AUSA

                                 UNITED STATES DISTRICT COURT

                                            Southern District Of Texas Brownsville Division

UNITED STATES OF AMERICA                                                    CRIMINAL COMPLAINT
            vs.
                                                                             Case Number: 1:19-po-1204
Jose Luis SALDANA-Meneses
 A201 720 932 Mexico




           I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about        February 21, 2019        in                 Cameron                    County, in

the                                         Southern District Of Texas                                            defendant(s)
being then and there an alien, did, willfully, knowingly and unlawfully enter the United States at a time or place other than
designated by an Immigration Officer,




in violation of Title              8                United States Code, Section(s)                           1325(a)(1)

I further state that I am a(n)                 Border Patrol Agent                     and that this complaint is based on the
following facts:
The defendant was apprehended in Brownsville, Texas on February 21, 2019. The defendant is a citizen of Mexico who entered
the United States illegally by swimming across the Rio Grande River near Brownsville, Texas on February 21, 2019 thus
avoiding immigration inspection.




The Defendant had $103.00 in U.S. funds and $1,450.00 in Mexican funds at the time of apprehension.

I DECLARE UNDER PENALTY OF PERJURY THAT THE STATEMENTS IN THIS COMPLAINT ARE TRUE AND
Continued on the attached sheet and made a part of this complaint:                 Yes             No


                                                                              /S/ Garcia-Iii, Oscar Border Patrol Agent
                                                                              Signature of Complainant

                                                                              Garcia-Iii, Oscar         Border Patrol Agent
Sworn to before me and signed in my presence,                                 Printed Name of Complainant



February 23, 2019                                                      at     Brownsville, Texas
Date                                                                          City/State


Ignacio Torteya III                    U.S. Magistrate Judge
Name of Judge                                Title of Judge                   Signature of Judge
